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                    UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

UNITED STATES OF AMERICA,

             Plaintiff,                       No. 1:23-mj-00230

      v.                                      Hon. Ray Kent
                                              United States Magistrate Judge
ANDREW BLAIR HOWARD,

             Defendant.
                                   /


  GOVERNMENT’S NOTICE OF UPDATED RESTITUTION COSTS

      On March 27, 2024, the government submitted its sentencing and

restitution memorandum, which included as attachments Exhibits G and H

(R.20, Government’s Sentencing Memorandum, PageID.218). Exhibit G and H

were the Declaration of U.S. Coast Guard Commander Benjamin Litts and the

COMMAND INSTRUCTION 7310.1V, which includes reimbursable standard

rates for use of Coast Guard equipment and materials.        The government

submitted a restitution request for $21,161.16 based on what it understood to

be the direct and support costs calculated for the mission as calculated in the

U.S. Coast Guard Command Instructions. (See R.20 at PageID.234-35). With

this request, the government understood it would be removing all non-

allowable costs, including administration, depreciation, overhead, and costs of

capital. The government requested additional information regarding the

composition of direct and support costs, but the Coast Guard initially was



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unable to provide any additional cost breakdown because the software and

inputs used to calculate the 2022 Command Instruction table was run on

Windows 7 and was incompatible with Windows 10, which the Coast Guard is

currently operating on its computers. In advance of the sentencing hearing,

the government continued to work with the Coast Guard to obtain additional

supporting information. On Thursday, May 9, 2024, the Coast Guard provided

the government with a spreadsheet containing supplemental cost information

for COMMAND INSTRUCTION 7310.1V, included as Attachment A. Upon

review of the cost breakdown and following subsequent conversations with

Coast Guard staff, the government now believes that several categories of costs

should be excluded from the Coast Guard’s restitution request, as these

included costs are not all costs allowed by 18 U.S.C. § 3663A and by the 6th

Circuit in United States v. Sawyer, 825 F.3d 287, 292 (6th Cir. 2016).1

Specifically, the government now believes the following categories of costs

should be excluded from the Coast Guard’s restitution request: AFC34 -

Training and Recruiting Infrastructure; AFC41 - Aeronautical Engineering;

AFC42 – Telecommunications; AFC43 - Civil Engineering; and AFC57 –

Medical. After further review, to simplify the issues, the Coast Guard has also

elected to withdraw its restitution request for support flight costs ($4,030.70).

       As a result, with this Notice, the government provides the Court with




1 The U.S. Coast Guard recovers costs for a variety of reasons under different statutes.



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spreadsheets 2 and additional supporting materials to the Command

Instructions included as Exhibit B. The government believes the appropriate

costs should include the pay and the operating and maintenance figures

allocated as direct costs. The total costs sought by the U.S. Coast Guard are

$9,603.93. These costs include the costs to prepare the aircraft for flight, for

the crew to fly the aircraft, and to refuel, check and maintain the aircraft

following the flight. 3

       For ease of reference, the government provides the updated chart below,

which reflects the updated Coast Guard restitution request and costs. The

other recoverable losses and cost of proceedings have not changed:




2 The spreadsheets contain sensitive budget information related to the budget of the

U.S. Coast Guard. For purposes of public filing, that information has been redacted.
The government will provide unredacted versions of the spreadsheets to the Court
and defense counsel.
3 Although the costs rely on a three-year historical average of costs to arrive at these

numbers, the accounting method used by the Coast Guard can also underestimate
costs. For example, based on CG-83 which uses updated 2022 fuel costs statistics in
effect at the time of the flight (instead of the backwards looking three year average
contained in the AFC O&M figure) the U.S. Coast Guard believes the actual fuel costs
for the flight are $2,259.33, which is less than the $1,770.79 sought as restitution for
operation and maintenance costs, which requested costs include fuel as a component.

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                      Recoverable         Cost of
                      Losses 18 U.S.C.    Proceedings
 Party                § 3663A                                Justification
 National Park                                               Natural Resource / hydrologist
 Service              $12,868.29                             expenses
                                                             Two hours direct cost of USCG
 U.S. Coast Guard     $9,603.93                              helicopter operation
 National Park                            $2,113.07          Rangers Bahm and Dekkers trial
 Service 4                                                   travel expenses
 U.S. Department                          $1,834.64          Trial travel expenses for fact
 of Justice                                                  witnesses
 TOTALS               $22,472.22          $3,947.71



       With this Notice, the government therefore seeks $22,472.22 in

recoverable restitution and $3,947.71 in recoverable costs of proceedings

(totaling $26,419.93 from these distinct categories).



                                              Respectfully submitted,

                                              MARK A. TOTTEN
                                              United States Attorney


Dated: May 15, 2024                           s/ Meagan D. Johnson
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                                              LAUREN F. BIKSACKY
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4 Because restitution and costs of proceedings are legally distinct, they have been

separated on this table. The total award to the NPS for cost of the proceedings under
18 U.S.C. § 1865 and restitution under 18 U.S.C. § 3663A is $14,981.36. This award
request to NPS remains unchanged since the government’s initial sentencing filing.

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